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UNITED STATES DISTRICT                                                                                                     JOSEPH & NORINSBERG, LLC
SOUTHERN DISTRICT OF NEW YORK



Plaintiff / Petitioner:                                                                            AFFIRMATION OF SERVICE
HANNIBAL WHEATLEY, on behalf of himself and all others                                                       Case No:
similarly situated,                                                                                        1:24-cv-07344
Defendant / Respondent:
BUDBIZ LLC d/b/a NYCBUD,                                                                              Date Filed: 09/27/2024




State of New York, County of KINGS) ss.:

The undersigned being duly sworn, Affirms and states the following; deponent is not a party herein, is over 18 years of age and resides in the
State of New York. That on Thursday, October 03, 2024 AT 06:00 PM AT 32-32 STEINWAY STREET, ASTORIA, NY 11103, actual place of
business, deponent served the within SUMMONS IN A CIVIL ACTION and CLASS ACTION COMPLAINT & DEMAND FOR JURY TRIAL on Budbiz
LLC d/b/a NYCBud c/o Giancarlo Pinto,


         Individual: by delivering a true copy of each to said defendant, personally; deponent knew the person so served to be the person
         described as said defendant therein.
 X       Corporation: a defendant therein named, by delivering a true copy of each to Dominick, Business partner to Giancarlo Pinto, who
         provided verbal confirmation that he is authorized to accept service on behalf of the defendant.
         Suitable Person: by delivering thereat, a true copy of each to ‌                        a person of suitable age and discretion.
         Affixing to Door: by affixing a true copy of each to the door thereof, deponent was unable with due diligence to find defendant, or a
         person of suitable age or discretion thereat, having called thereon; at


         Mailing: Deponent also enclosed a copy of same, in a postpaid sealed wrapper properly addressed to said defendant at defendant's
         last known residence, ‌                     , and depositing said wrapper in a post office, official depository under the exclusive care
         and custody of the United States Post Office, department, with New York State. The wrapper bore the legend “Personal and
         Confidential” and did not indicate on the outside thereof, by return address or otherwise, that the communication was from an
         attorney or concerned an action against the Defendant. Mailed on ‌                        .
         Military Service: I asked the person spoken to whether defendant was in active military service of the United States or of the State of
         New York in any capacity whatever and received a negative reply. Recipient wore ordinary civilian clothes and no military uniform. The
         source of my information and the ground of my belief are the conversations and observations above narrated. Upon information and
         belief I aver that the defendant is not in the military service of New York State or of the United States as that term is defined in either
         the State or in the Federal statutes.

Description:
Age: 65-70                         Ethnicity:   Caucasian                                Gender:    Male                    Weight:   175 lbs
Height:     5'7"                     Hair:   Bald                       Eyes:    Brown                             Relationship:   Business
                                                                                                                                   partner to
                                                                                                                                   Giancarlo Pinto
Other:     n/a




THOMAS DUNN                                                                     I affirm this 07 day of OCTOBER, 2024, under the penalties of
LIC# 2112491-DCA                                                                perjury under the laws of New York, which may include a fine or
PEAK PROCESS SERVERS, INC.                                                      imprisonment, that the foregoing is true, and I understand that this
DCA Lic# 2079779-DCA                                                            document may be filed in an action or proceeding in a court of law.
48 Davis Avenue, Port Washington NY 11050
Tel: 516.822.7070
